Case 4:19-cr-00029-MFU Document 61 Filed 01/13/20 Page 1 of 1 Pageid#: 196
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                                                                                  JAy 13 2222
                       IN THE UN ITED STATES DISTRICT COURT
                      FOR THE W ESTERN D ISTRICT OF VW GINIA                 JU       DUDLEM LERK
                                                                           BY:
                                 DAN VX LE DIVISION                                      C   .



UNITED STA TES OF ANIERICA ,

                                                          CaseN o.4:19CR00029
M AU RICE V.H OW ARD
DEW N STOCKTON




          This cause cam e to be heard on the agreed m otion between the parties,by counsel,

pursuanttoTitle18U.S.C.Section3161(h)(8)(A),foracontinuanceinconnectionwiththeabove
styledmatter,whichiscurrentlysetforajurytrial.
       Thecoul'
              tfindsthattheendsofjusticeservedbygrantingthecontinuanceoutweighthebest
interestsofthepublicandthedefendantin a Speedy Trialin thatfailureto grantacontinuancewould

denycounselforthedefendantthereasonabletim enecessary foreffectivepreparation and/oragreed

resolution ofthe case taking into accountthe exercise ofdue diligence.

       A ccordingly,itishereby ORD ERED thatthe speedy triallim itin thism atteriscontinued
âom February 4,2020,until M ay 18,2020.                                           -
                                               Entered:This(3 dayofJanuary,2020.

                                              /w/ N 02.,. .                                   '
                                                CHIE     NITED STATES DISTRICT JUDGE
